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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
www. fisb.uscourts. gov
CHAPTER 13 PLAN (Individual Adjustment of Debts)
Original Plan
Vv 4th Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
Modified Plan (Indicate ist, 2nd. ete. Modified, if applicable)

DEBTOR: Jorge A Canales JOINT DEBTOR: Mayra T Canales CASE NO.:  18-13244
SS#: XXX-XX-4064 SSH: Xxx-xx-9936
L. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended

plans and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk
pursuant to Local Rules 2002-1(C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments
within 30 days of filing the chapter 13 petition or within 30 days of entry of the order converting the case lo

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chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your
claim may be reduced, modified or eliminated,

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VII. Debtor(s) must
check one box on each line listed below in this section to state whether the plan includes any of the

following:
The valuation of a secured claim, set out in Section III, which may result ina Included / Not included
partial payment or no payment at all to the secured creditor
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security Included ¥ Not included
interest, set out in Section III
Nonstandard provisions, set out in Section VIII Included y¥ Not included
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the bencfit of the creditors the amounts listed below, including
trustee's fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full
10%, any unused amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1, 2,393.47 for months | to 60;

 

 

B. DEBTOR(S)' ATTORNEY'S FEE: NONE PRO BONO
Total Fees: $3,500.00 Total Paid: $2,000.00 Balance Due: $1,500.00
Payable 100.00 /month (Months — | to IS )
Il. TREATMENT OF SECURED CLAIMS

A, SECURED CLAIMS; NONE

[Retain Liens pursuant to 11 U.S.C. §1325(a)(5)] Mortgage(s)/Lien on Real or Personal Property:

1 Creditor: Seterus Inc

PO BOX 1047 Arrearage/Payoff on Petition Date 41,784.13

Hartford, CT 06143 Arrears Payment (Cure) 696.40 /month (Months 14 to 60)
Last 4 Digits of Account No.: Account No:

XXXXXXAXXKX2Z7H1
Other:
Real Property Check one below for Real Property:
¥ Principal Residence ¥ Escrow is included in the regular payments
Other Real Property The debtor(s) will pay — taxes insurance directly

Address of Collateral:

Personal Property.
Description of Collateral:

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Debtor(s): Jorge A Canales
Mayra T Canales Case number: 18-413244

2 Creditor: Seterus Inc
Address:14523 Sw Millikan Way Arrearage/Payoff on Petition Date

St; Beaverton, OR 97005 Regular Payment 1,357.73 /month (Months 1 to 60)
(Maintain)
Last 4 Digits of Account No.; Account No:
XXXXXXXXX2751

Other:
¥ Real Property Check one below for Real Property:

v Principal Residence ¢ Eserow is included in the regular payments

_.. Other Real Property The debtor(s) will pay taxes insurance directly

Address of Collateral: 20600 Marlin Rd Miami, FL 33189

Miami-Dade County
Value based on Miami-Dade Property Search.

Personal Property.’
Description of Collateral:

B. VALUATION OF COLLATERAL: y NONE
IF YOU ARE A SECURED CREDITOR LISTED BELOW. THE PLAN SEEKS TO VALUE THE COLLATERAL,
SECURING YOUR CLAIM IN THE AMOUNT INDICATED, A SEPARATE MOTION WILL ALSO BE SERVED
UPON YOU PURSUANT TO BR 700R AND LR 3015-3.
Cc. LIEN AVOIDANCE y NONE
D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall ot
receive a distribution from the Chapter 13 Trustee.
¥ NONE
DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall ot receive a distribution from the
Chapter 13 Trustee.
NONE
¥ The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personain as to
any codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law
contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle. elc,)
1. Ally Financial XXXXXXXX3637 2014 Chrysler Town & County 32,000 miles

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle. etc.)
2. Ally Financial XXXXXXXX7 104 2015 Jeep Patriot 28,000 miles

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle. ete)
3, Our Microlnd xxx42R1 2001 Chevrolet Silverado 300000 miles
IV, TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. $1322(a)(4) |

 

A: ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: y NONI:

B. INTERNAL REVENUE SERVICE: y NONE

Total Due: 0.0 Total Payment $0.00
Payable 0.00 month (Months 0 to 0)

C. DOMESTIC SUPPORT OBLIGATION(S): y NONE | CURRENT AND PAID OUTSIDE

D. OTHER: vy NONE

v. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay 100.00 /month (Months 16 to 60  )
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Debtor(s): Jorge A Canales
Mayra T Canales Case number: 18-13244
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. vy If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims,

 

vl; EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Sccured claims filed by any ereditor/lessor granted stay
relicf in this section shall not receive a distribution from the Chapter 13 Trustee.
¥ NONE

VIL. INCOME TAX RETURNS AND REFUNDS: y NONE
VIII, NON-STANDARD PLAN PROVISIONS: y NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter [3 plan is true and correct under penalty of perjury.

!s/ Jorge A Canales Debtor 7/122018 /s! Mayra T Canales Joint Debtor 7/2/2018

Jorge A Canales Date Mayra T Canales Date

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII,

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